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 Attorney for Debtors in Possession

                                UNITED STATES BANKRUPTCY COURT

                                             DISTRICT OF IDAHO

 In re:                                                      Case No. 19-40057-JMM

 TIMOTHY D. SEMONES and SUSAN C.                             Chapter 11
 DESKO,

                               Debtors.



                              STATISTICAL REPORT FOR CLOSING
                             CONFIRMED CHAPTER 11 PROCEEDINGS

          The Debtors, by and through their counsel of record, ANGSTMAN JOHNSON, hereby

 submit this Statistical Report for Closing Confirmed Chapter 11 Proceedings, as follows:

         1.     100% Dividend to be paid. The percentage dividend reported is that which is to be
 paid to the general class of unsecured creditors under the confirmed plan. If the plan contemplates
 no payment to unsecured creditors, enter a “0” in dividend space.
         2.            $0.00 Trustee Compensation
         3.            $0.00 Fees for Attorney for Trustee
         4.      $71,080.221 Fees for Attorney for Debtor
         5.            $0.00 Other Professionals (accountant, bookkeeper, auctioneer, etc.)
         6.            $0.00 All Expenses, including trustee’s


 1
   This amount includes all amounts in the still-pending final application for compensation, and includes all expenses
 for counsel.


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    Items 2 through 6 – please enter amounts of fees and expenses that were applied for and
 approved by the Court during the pendency of the case.

        7.      $4,767,780.81          Total of Secured Claims Allowed
        8.      $        0.00          Total of Priority Claims Allowed
        9.      $2,200,667.43          Total of Unsecured Claims Allowed

     Items 7 through 9 should reflect the total amount allowed to each class of creditor, regardless
 of whether or not that particular class will be paid in full.


        DATED this 28th day of May, 2021.

                                                         /s/ Matt Christensen
                                                  MATTHEW T. CHRISTENSEN
                                                  Attorney for Debtors




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 28th day of May, 2021, I filed the foregoing
 STATISTICAL REPORT electronically through the CM/ECF system, which caused the following
 parties to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

        Lesley Bohleber                        ecfidb@aldridgepite.com
        Craig W. Christensen                   cwc@racinelaw.com
        Matthew T. Christensen                 mtc@angstman.com
        Scott D. Goldsmith                     goldsmith.scott@dorsey.com
        Robert Glenn Harris                    rob@bindermalter.com
        Amber K. Kauffman                      amber.kauffman@tax.idaho.gov
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        Chad R. Moody                          chad@angstman.com
        David W. Newman                        ustp.region18.bs.ecf@usdoj.gov
        US Trustee                             ustp.region18.bs.ecf@usdoj.gov
        Steven T. Waterman                     waterman.steven@dorsey.com


        Any others as listed on the Court’s ECF Notice.


                                                        /s/ Chad R. Moody
                                                  Chad R. Moody




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